           Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 1 of 8


 1       Peter Gibbons (CBN: 196169)
         Suite E
 2       1805 North Carson Street
         Carson City, NV 89701-1216
 3       Telephone: 775-434-1856
         LawDr1@lawdr.us
 4       Attorney for Plaintiffs.
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 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10
         Austin M. Higley, Kyle J. Clark, and    )   Case No: 2:21-at-583
11                                               )
         Ryan D. Clark                           )
12                                               )   Complaint for Injunctive and
                      Plaintiffs,                )   Declaratory Relief
13                                               )
                                                 )   Jury Trial Demanded
14                         vs.                   )
                                                 )
15       CALIFORNIA STATE                        )
                                                 )
16       UNIVERSITY; Joseph Castro,              )
         Acting Chancellor of the                )
17       CALIFORNIA STATE                        )
                                                 )
         UNIVERSITY SYSTEM, in his               )
18
         official and personal capacities;       )
19       Gayle E. Hutchinson, President of       )
                                                 )
         the CALIFORNIA STATE                    )
20
         UNIVERSITY, Chico Campus, in            )
21       her official and personal capacities;   )
                                                 )
         Xavier Becerra, Secretary of the U.S.   )
22
         DEPARTMENT OF HEALTH AND                )
23       HUMAN SERVICES, in his official         )
                                                 )
         and personal capacities; Dr. Anthony    )
24       Fauci, Director of the NATIONAL         )
25       INSTITUTE OF ALLERGIES AND              )
                                                 )
         INFECTIOUS DISEASES, in his             )
26       official and personal capacities; Dr.   )
27       Janet Woodcock, Acting                  )
                                                 )
         Commissioner of the U.S. FOOD           )
28       AND DRUG ADMINISTRATION,                )


     2 Complaint for Injunctive Relief           Page 1 of 8            Case No. ___________
     3
     4
               Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 2 of 8


          in her official and personal                )
 1                                                    )
          capacities; U.S. DEPARTMENT OF              )
 2        HEALTH AND HUMAN                            )
 3        SERVICES, FOOD AND DRUG                     )
          ADMINISTRATION; CENTER                      )
                                                      )
 4        FOR DISEASE CONTROL AND                     )
          PREVENTION; NATIONAL                        )
 5                                                    )
          INSTITUTES OF HEALTH;                       )
 6        NATIONAL INSTITUTE OF                       )
          ALLERGIES AND INFECTIOUS                    )
 7                                                    )
          DISEASES; and John and Jane Does
                                                      )
 8        I-V,                                        )
                                                      )
 9                        Defendants.                 )
10
11                 PLAINTIFFS' COMPLAINT FOR INJUNCTIVE AND DECLARATORY

12                                                   RELIEF

13                Comes now Plaintiffs, by and through their undersigned counsel, who move the

14        Court for the issuance of an injunction to restrain the Federal Defendants1, their

15        officers, agents, servants, employees, and attorneys, to stop the approval of Covid-19

16        vaccinations until such time as procedures are established to require prescreening prior

17        to injection to establish whether the individual has had, or currently has, the Covid-19

18        virus; to restrain the State Defendants from mandating a person receive the vaccine

19        prior to the implementation of said procedures; and for declaratory relief on the issue

20        whether vaccination of those who have either had the virus, or currently have the virus,

21        are at risk of death or serious illness.

22                                         JURISDICTION AND VENUE

23        1.      This Court has jurisdiction pursuant to the provisions of 28 U.S.C. § 1331

24        because this civil action arises under the Constitution and laws of the United States; 28
25
26    1          Defendants CSU, Castro and Hutchinson are hereinafter collectively referred to as “the
                 State Defendants. The Federal officers, employees and Federal Agencies are hereinafter
27
                 collectively referred to as “the Federal Defendants.”
28


     2 Complaint for Injunctive Relief                Page 2 of 8               Case No. ___________
     3
     4
              Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 3 of 8


 1       U.S.C. Sec 1361 because this civil action seeks to compel officers and employees of
 2       the United States to perform the duty of disapproving a vaccine that is potentially
 3       deadly and causes serious health issues; and 28 U.S.C. § 1343(a)(3) because this civil
 4       action is to secure equitable relief for violation of Plaintiffs' civil rights; and 5 U.S.C. §
 5       703 because no special statutory review is available and this civil action seeks both
 6       injunctive and declaratory relief; and 28 U.S.C. § 2201 because this civil action
 7       involves a dispute among the parties as to whether the Covid-19 vaccines are, or are
 8       not, potentially deadly and cause serious health issues; and 42 U.S.C. § 1983 because
 9       the State Defendants are violating Plaintiffs' civil rights.
10       2.      Venue is properly set in this Court pursuant to 28 U.S.C. §1391(e)(1).
11                                                   PARTIES
12       3.      Plaintiff Austin Myles Higley ("Higley") is an individual resident in Grass
13       Valley, California, and within the above-designated District Court.
14       4.      Plaintiff Kyle J. Clark ("Kyle Clark") is an individual resident in Rocklin,
15       California, and within the above-designated District Court.
16       5.      Plaintiff Ryan D. Clark ("Ryan Clark") is an individual resident in Rocklin,
17       California, and within the above-designated District Court.
18       6.      Defendant California State University (“CSU”) is a public university system in
19       California with 23 campuses and eight off-campus centers enrolling 485,550 students
20       with 55,909 faculty and staff.
21       7.      Defendant Joseph Castro is the Acting Chancellor of the California State
22       University System. He is being sued in his official and personal capacities.
23       8.      Defendant Gayle E. Hutchinson holds the office of President within the CSU
24       system. She is being sued in her official and personal capacities.
25       9.      Defendant Xavier Becerra is the current Secretary of Defendant the U.S.
26       Department of Health and Human Services. He is being sued in his official and
27       personal capacities.
28


     2 Complaint for Injunctive Relief              Page 3 of 8               Case No. ___________
     3
     4
           Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 4 of 8


 1       10.    Defendant Dr. Anthony Fauci is the Director of Defendant the National Institute
 2       of Allergies and Infectious Diseases. He is being sued in his official and personal
 3       capacities.
 4       11.    Defendant Dr. Janet Woodcock is the Acting Commissioner of Defendant the
 5       Food and Drug Administration. She is being sued in her official and personal
 6       capacities.
 7       12.    Defendant United States Department of Health and Human Services (“DHHS”)
 8       is a federal agency.
 9       13.    Defendant Food and Drug Administration (“FDA”) is a federal sub-agency of
10       Defendant DHHS.
11       14.    Defendant Center for Disease Control and Prevention (“CDC”) is a federal sub-
12       agency of Defendant DHHS.
13       15.    Defendant National Institutes of Health (”NIH”) is a federal sub-agency of
14       Defendant DHHS.
15       16.    Defendant National Institute of Allergies and Infectious Diseases (“NIAID”) is a
16       federal sub-agency of Defendant DHHS.
17       17.    Defendants John and Jane Does I - V are as yet unknown agencies and
18       individuals.
19                          FACTS COMMON TO EACH CAUSE OF ACTION
20       18.    Scientific medical research establishes that the Covid-19 vaccines currently
21       authorized for emergency use ("Emergency Use Authorization" hereinafter "EUA"),
22       when administered to those individuals that have had and recovered from the Covid-19
23       virus, or who currently have the virus (herein collectively referred to as “Covid-19
24       Recovered”), are at substantial risk of serious illness, including death, from the
25       following non-inclusive medical conditions: Coagulopathy issues, including blood
26       clots, hemorrhage, thrombocytopenia, heart attack, and strokes; Reproductive issues,
27       including menstrual irregularities, reduced fertility, miscarriages, and preterm births;
28       Transmission of spike protein (or its fragments) from vaccinated individuals, such as


     2 Complaint for Injunctive Relief           Page 4 of 8              Case No. ___________
     3
     4
           Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 5 of 8


 1       through breast milk and associated risk in neonates and infants; Neurological disorders,
 2       including Guillain-Barré syndrome, acute disseminated encephalomyelitis, transverse
 3       myelitis, encephalitis, myelitis, encephalomyelitis, meningoencephalitis, meningitis,
 4       encephalopathy, demyelinating diseases, and multiple sclerosis, and dementia; Cardiac
 5       issues, including myocardial infarction, myocarditis and pericarditis, among others;
 6       Autoimmune diseases, including thyroiditis and diabetes mellitus, immune
 7       thrombocytopenia, autoimmune hepatitis, primary biliary cholangitis, systemic
 8       sclerosis, autoimmune disease for skeletal muscles (myasthenia gravis, myositis such
 9       as polymyositis, dermatomyositis, or other inflammatory myopathies).
10       19.    The Federal Defendants continue to issue official recommendations, upon which
11       the State Defendants have relied, that every person in the United States receive the
12       Covid-19 vaccine which recommendations are falsely premised on their contention the
13       Covid-19 vaccines are safe.
14       20.    The Federal Defendants intend to authorize one or more of the current EUA
15       vaccines for full licensure in the immediate future without any requirement for
16       prescreening to determine if a potential recipient of the vaccine has had, or currently
17       have, the virus.
18       21.    Plaintiffs are, and at all times herein mentioned, students at Defendant CSU,
19       Chico Campus.
20       22.    Plaintiff Higley is a Covid-19 Recovered person having contracted the virus in
21       early January, 2020.
22       23.    Plaintiff Kyle Clark is a Covid-19 Recovered person having contracted the virus
23       in late January, 2020.
24       24.    Plaintiff Ryan Clark is a Covid-19 Recovered person having contracted the virus
25       in mid January, 2020.
26       25.    On April 22, 2021, the State Defendants, acting under color of state law, caused
27       to be sent to Plaintiffs an e-mail stating the official policy of CSU to mandate, after
28       official licensure of any of the vaccines, that students, faculty and staff must be


     2 Complaint for Injunctive Relief           Page 5 of 8              Case No. ___________
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     4
           Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 6 of 8


 1       vaccinated or they will be precluded from the campus for the fall semester. A copy of
 2       said e-mail is attached hereto as Exhibit 1.
 3                 FIRST CAUSE OF ACTION AGAINST THE STATE DEFENDANTS
 4                                      Injunctive Relief Under 42 U.S.C. § 1983
 5       26.     Plaintiffs incorporate by reference paragraphs 1-25 herein above as if set forth in
 6       full.
 7       27.     Once the EUA vaccine is approved for general use, Plaintiffs will lose their right
 8       to choose their own health care unless the State Defendants’ mandate is enjoined.
 9       28.     Cal. Const. art I, § 28(7), providing that all students have the right to be safe and
10       secure in their persons will be violated when Plaintiffs are forced to obtain a
11       vaccination that is inherently dangerous and life threatening.
12       29.     So too, a person's right to personal security is a "historic liberty interest
13       protected substantively by the Due Process Clause of the 14th Amendment.
14       30.     The right to bodily autonomy and to choose one’s healthcare falls within a
15       “historic liberty interest.”
16       31.     Unless the State Defendants are enjoined, Plaintiffs will be irreparably harmed,
17       which harm includes, not by way of limitation, death, or other serious illness, and loss
18       of fundamental State and Federal constitutionally protected rights.
19                 SECOND CAUSE OF ACTION AGAINST FEDERAL DEFENDANTS
20                                       Injunctive Relief Under 5 U.S.C. § 703
21       32.     Plaintiffs incorporate by reference paragraphs 1-25 herein above as if set forth in
22       full.
23       33.     Federal Defendants, and each of them, have an absolute duty under the
24       Constitution of the United States to protect the life, liberty, and property of the citizens
25       as an integral part of the fundamental purpose for establishment of the federal
26       government. See the Declaration of Independence ¶ 2 "That to secure these rights,
27       Governments are instituted among men, …"
28


     2 Complaint for Injunctive Relief               Page 6 of 8              Case No. ___________
     3
     4
           Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 7 of 8


 1       34.        Federal Defendants, and each of them, being completely in control of the full
 2       licensure of the Covid-19 vaccines, have a mandatory duty under the due process
 3       clause to notify potential recipients of the vaccines of the serious health effects,
 4       including death, if they are a Covid-19 Recovered person.
 5       35.        Unless the Federal Defendants are enjoined from issuing full licensure without a
 6       mandatory requirement to prescreen individuals to ascertain whether one is a Covid-19
 7       Recovered person, and a mandate to exclude those persons from vaccinations,
 8       Plaintiffs will be irreparably harmed, which harm includes, not by way of limitation,
 9       death, or other serious illness, and loss of fundamental State and Federal constitutional
10       rights.
11                        THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS
12                                   Declaratory Relief Under 28 U.S.C. § 2201
13       36.        Plaintiffs incorporates by reference paragraphs 1-29 herein above as if set forth
14       in full.
15       37.        There is an actual controversy between Defendants and Plaintiffs regarding the
16       safety of the lives and health of people who have in the past, or who currently are
17       infected, with the Covid-19 virus.
18       38.        Defendants have asserted in published documents that there is no need to screen
19       individuals before receiving the various vaccines as the vaccine is safe for
20       administration to such people, despite the lack of any testing of said individuals as part
21       of the various trials regarding the various vaccines.
22       39.        Plaintiffs contends scientific medical evidence exists showing vaccination of
23       individuals who have had the virus and have recovered, or who currently have the
24       virus, will result in serious health issues, including death to those individuals and that
25       due process considerations require mandating prescreening.
26                  WHEREFORE, Plaintiffs moves the Court for:
27                  1.   An injunction against the State Defendants from mandating vaccinations
28       as a condition precedent from attending any class at a CSU campus;


     2 Complaint for Injunctive Relief               Page 7 of 8              Case No. ___________
     3
     4
           Case 2:21-cv-01126-TLN-JDP Document 1 Filed 06/24/21 Page 8 of 8


 1             2.    An injunction against the Federal Defendants from issuing final licensure
 2       of a Covid-19 vaccine in the absence of mandating prescreeing as a condition
 3       precedent to administering a Covid-19 vaccine to any person, and directing that Covid-
 4       19 Recovered persons are exempt from vaccination, mandatory or otherwise.
 5             3.    For an Order awarding Plaintiffs cost of suit herein;
 6             4.    For an award of attorneys' fees; and
 7             5.    For such other and further relief as the Court deems proper.
 8             Dated this, June 24, 2021
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12                    ________________________________
                      Peter Gibbons
13                    Attorney for Plaintiffs
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     2 Complaint for Injunctive Relief           Page 8 of 8                 Case No. ___________
     3
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